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 6                           IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF GUAM
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 8    UNITED STATES OF AMERICA,                                Criminal Case No. 08-00018-2
 9                    Plaintiff,
10                                                        ORDER RE: SEVERANCE OF TRIAL
               vs.
11    MARK ANTHONY BARTOLOME,
12                    Defendant.
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14            This case is before the court on the Government’s objections to the Order by the United
15   States Magistrate Judge directing that the charges against Defendant be tried in two separate
16   proceedings: one for Counts I-III (Conspiracy to Smuggle Bulk Cash Out of the United States,
17   Bulk Cash Smuggling Out of the United States, and Forfeiture Allegation), and another for Count
18   IV (Importation of Methamphetamine Hydrochloride). See Docket Nos. 68, 76. On the basis of
19   the parties’ arguments and presented authorities, the court hereby SUSTAINS the Government’s
20   objections.
21   I.       FACTUAL BACKGROUND
22            On the morning of February 28, 2008, Ernesto P. Verdera and Defendant Mark A.
23   Bartolome, traveling together, arrived at Guam’s A.B. Won Pat International Airport to board a
24   Philippine Airlines flight that was scheduled to depart Guam at 6:00 a.m. and was destined for
25   Manila, Philippines. See Docket No. 76 at 2:21-24. Upon inspecting their baggage, authorities
26   discovered a large amount of bundled cash, later valued at $810,631. See id. at 2:24-3:13; 4:19-
27   21. Authorities also discovered “[d]rug paraphernalia and methamphetamine hydrochloride,
28   packaged in two small plastic bags and with an aggregate weight of 1.33 grams.” Id. at 3:13-14.



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 1   During subsequent questioning, Defendant Bartolome stated that he smokes methamphetamine
 2   and that he had placed “about a gram” of the drug in the baggage, for his personal use. Id. at
 3   4:14-16.
 4   II.       PROCEDURAL BACKGROUND
 5             On February 28, 2008, the Government filed a complaint charging both Ernesto P.
 6   Verdera and Defendant Mark A. Bartolome with the offense of Bulk Cash Smuggling Out of the
 7   United States, in violation of 31 U.S.C. § 5332. See Docket No. 1. The complaint also contained
 8   a Forfeiture Allegation seeking surrender of the cash involved in the offense.
 9             On March 5, 2008, the grand jury returned an indictment, charging both Ernesto P.
10   Verdera and Defendant Mark A. Bartolome with the same offense contained in the Complaint.
11   See Docket No. 13.
12             On April 22, 2008, Verdera moved Magistrate Judge Joaquin V.E. Manibusan, Jr., to
13   sever his trial from that of Defendant Bartolome. See Docket No. 29. Verdera argued that
14   Defendant Bartolome’s oral statements, which the Government intended to introduce at the trial
15   through the agent who had interviewed Defendant Bartolome, would prejudice him, as he would
16   not be able to confront and cross-examine his non-testifying then-co-defendant. Thus, Verdera
17   contended that severance was proper under Bruton v. United States, 391 U.S. 123 (1968).
18             On May 1, 2008, the grand jury returned a superseding indictment, charging both
19   defendants with: Conspiracy to Smuggle Bulk Cash Out of the United States (Count I); Bulk
20   Cash Smuggling Out of the United States (Count II); and Forfeiture Allegation (Count III). See
21   Docket No. 34. There was also a charge of Importation Methamphetamine Hydrochloride (Count
22   IV), leveled only against Defendant Bartolome.
23             On April 28, 2008, the Government opposed Verderda’s motion. See Docket No. 31.
24   The Government argued that severance was not required because it could sufficiently protect
25   Verdera’s Sixth Amendment rights by a combination of redactions and limiting instructions.
26             On May 5, 2008, Verdera filed his reply brief. See Docket No. 44. In addition to dealing
27   with the Bruton issue, Verdera argued for severance of the new methamphetamine hydrochloride
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 1   importation charge leveled against Defendant Bartolome, because the evidence to be introduced
 2   as a result of that new charge would “spill over” to him and significantly prejudice him in the
 3   jury’s eyes.
 4          On May 9, 2008, Magistrate Judge Manibusan heard oral argument on the motion. See
 5   Docket No. 45. Defendant Bartolome had neither joined the motion to sever nor opposed it.
 6   Accordingly, his then-counsel, William Gavras, did not appear at the hearing. After some
 7   argument was presented, Magistrate Judge Manibusan continued the matter briefly to permit the
 8   Government to file a supplemental memorandum addressing Verdera’s second argument
 9   regarding the spillover effect of Count IV. Also, Magistrate Judge Manibusan wanted to give
10   the Government and Verdera an opportunity to meet and discuss possible redaction of Defendant
11   Bartolome’s statements.
12          On May 23, 2008, the Government filed its Supplemental Response (Docket No. 46) and
13   Proposed Redactions to Bartolome’s statements (Exhibit A thereto). On May 30, 2008, Verdera
14   replied to the Government’s response. See Docket No. 51.
15          On June 6, 2008, the parties again appeared before Magistrate Judge Manibusan. See
16   Docket No. 53. At the judge’s request, Mr. Gavras also attended the hearing on behalf of
17   Defendant Bartolome. Magistrate Judge Manibusan stated that the court was concerned that the
18   redactions proposed by the Government and Verdera might interfere with Mr. Gavras’s defense
19   of Defendant Bartolome, specifically Defendant Bartolome’s ability to cross examine the agent
20   about the statements allegedly made by him. At counsel’s request, Magistrate Judge Manibusan
21   continued the matter once again to permit Defendant Bartolome to file a brief on the matter and
22   to permit the Government a response to Defendant Bartolome’s filing.
23          On June 16, 2008, Defendant Bartolome filed an objection to the Government’s proposed
24   redactions. See Docket No. 54. Thus, his argument concerned only the Bruton issue. On June
25   23, 2008, the Government filed a response to Defendant Bartolome’s objection. See Docket No.
26   59. Magistrate Judge Manibusan heard final argument from the parties on June 25, 2008.
27          On July 2, 2008, Magistrate Judge Manibusan granted Verdera’s motion in its entirety.
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 1   See Docket No. 68. As such, the one trial became three trials: (1) a trial for Verdera on Counts I-
 2   III; (2) a trial for Defendant Bartolome on Counts I-III; and (3) a trial for Defendant Bartolome
 3   on Count IV.
 4             On August 1, 2008, the United States filed objections to Magistrate Judge Manibusan’s
 5   order. See Docket No. 76. However, these objections address only the severance of Defendant
 6   Bartolome’s trial on Count IV from his trial on Counts I-III. The United States did not object to
 7   the ordering of separate trials for the two Defendants.
 8             On December 19, 2008, Defendant Bartolome filed a response to the objections of the
 9   United States. See Docket No. 87.
10             On January 22, 2009, the court heard argument on the propriety of the severance of the
11   counts against Defendant Bartolome into two trials. See Docket No. 94.
12             The court ordered further briefing on March 18, 2009. See Docket No. 164. The parties
13   filed their final briefs on the severance issue on March 27, 2009. See Docket Nos. 166, 168.
14   II.       STANDARD OF REVIEW
15             A district judge may reconsider a Magistrate Judge’s order on a non-dispositive pretrial
16   motion if the order was “clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A). See
17   also Fed. R. Civ. P. 72(a) (in reviewing a Magistrate Judge’s order on a non-dispositive pretrial
18   motion, district judge “must . . . modify or set aside any part of the order that is clearly erroneous
19   or is contrary to law.”). Under this standard, the magistrate judge’s order should be affirmed
20   unless the district court is left with the “definite and firm conviction that a mistake has been
21   committed.” Burdick v. Comm’r, 979 F.2d 1369, 1370 (9th Cir. 1992). Conversely, the
22   reviewing court may not simply substitute its judgment for that of the deciding court. Grimes v.
23   City & County of San Francisco, 951 F.2d 236, 241 (9th Cir. 1991).
24   III.      ANALYSIS
25             Rule 8(a) permits joinder of offenses in a single trial against a defendant, if the offenses
26   charged in the indictment are: (1) “of the same or similar character;” (2) “based on the same act
27   or transaction;” or (3) “connected with or constitut[ing] parts of a common scheme or plan.”
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 1   Fed. R. Crim. P. 8(a). Rule 8 is “broadly construed in favor of initial joinder [of offenses].”
 2   United States v. Jawara, 474 F.3d 565, 573 (9th Cir. 2007) (quoting United States v. Friedman,
 3   445 F.2d 1076, 1082 (9th Cir. 1971)). Finally, when deciding the propriety of joinder, courts
 4   should look only to the allegations in the indictment. Id. at 572 (quoting United States v. Terry,
 5   911 F.2d 272, 276 (9th Cir. 1990) and citing United States v. VonWillie, 59 F.3d 922, 929 (9th
 6   Cir. 1995)).
 7          Here, the Magistrate Judge clearly erred by applying these test factors (1) without setting
 8   forth the Ninth Circuit’s background policy preference in favor of initial joinder of offenses, and
 9   (2) without looking to any cases construing the test factors. Essentially, the Magistrate Judge
10   purported to analyze these test factors in an interpretive vacuum: the legal standards that Ninth
11   Circuit courts have laid down to guide analysis of these factors are not cited in the order. Thus,
12   there is no evidence that the factors were properly analyzed, indicating clear error.
13          For example, a leading Ninth Circuit case construing Rule 8’s “same or similar character”
14   test factor is United States v. Fiorillo, 186 F.3d 1136 (9th Cir. 1999). Fiorillo was based on an
15   indictment charging wire fraud, violations of the Resource Conservation and Recovery Act
16   (“RCRA”), and receiving Class A explosives without a permit. Id. at 1143. The Ninth Circuit
17   affirmed the District Court’s decision not to sever the explosives counts because
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            the explosives and hazardous materials were both stored in the
19          same warehouse, the discovery of the explosives led to the
            discovery of the hazardous materials, and both the explosives and
20          the hazardous material were being stored without proper permits.
            All of these facts indicate that the explosives charges and the
21          hazardous material charges were of similar character, meeting the
            requirements of Rule 8(a). Additionally, at least three witnesses
22          testified at the trial concerning both the explosives and the
            hazardous waste. The district court did not err in concluding that
23          joinder of the charges was proper.
24   Id. at 1145 (emphasis added). Thus, Fiorillo establishes that the “same or similar character” test
25   factor may be satisfied where the evidence underlying different charges was (1) stored and
26   discovered in the same location; (2) similarly contraband (i.e., held without a permit, or illegal);
27   and (3) “overlapping” in the sense that the same witnesses will testify about it.
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 1          Had the Magistrate Judge discussed Fiorillo and then decided, in Fiorillo’s light, that
 2   Defendant Bartolome’s offenses were not of “same or similar character,” the court would be
 3   hard-pressed to find clear error (though it may have decided things differently on de novo
 4   review). Instead, the Magistrate Judge simply laid out the elements of the offenses and then
 5   decided, upon “comparison of [their] essential elements,” that they were “not of the same or even
 6   similar character.” Docket No. 68 at 4:23-5:22. This constitutes clear error in two ways. First,
 7   the decision appears legally unconstrained, because the Magistrate Judge did not cite Fiorillo (or
 8   any other case) in reaching it. Second, the comparison-of-elements method is inconsistent with
 9   Fiorillo, because that method would almost certainly have led to a different decision in that
10   case—the essential elements of wire fraud and receiving Class A explosives being, naturally,
11   unlike each other.
12          In short, the Magistrate Judge clearly erred by (1) making the decision without citing any
13   applicable case law, and (2) reaching the decision upon reasoning apparently inconsistent with
14   such case law.
15   IV.    CONCLUSION
16          Given the foregoing analysis, the Government’s objection is SUSTAINED. Trial in this
17   case is hereby set for 9:30 a.m. on Tuesday, April 28, 2009. The final pre-trial conference and
18   hearing on all motions shall be held at 1:30 p.m. on Monday, April 27, 2009. All trial documents
19   are due by 3:00 p.m. on Wednesday, April 22, 2009.
20          SO ORDERED.
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22                                                            /s/ Frances M. Tydingco-Gatewood
                                                                  Chief Judge
23                                                            Dated: Apr 17, 2009
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